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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

              v.                                                  17-CR-6089 DGL

JEB TYLER,
                                    Defendant.



                      STATEMENT OF THE GOVERNMENT
                    WITH RESPECT TO SENTENCING FACTORS


       PLEASE TAKE NOTICE, that the government hereby adopts all findings of the

Presentence Report dated August 15, 2018 with respect to sentencing factors in this action

that are consistent with the terms and allegations in the plea agreement. The government

understands its obligations in accordance with United States v. Lawlor, 168 F.3d 633 (2d Cir.

1999), with respect to any findings in the PSR that are not consistent with the plea agreement.



       Should the defendant present any letters of support or sentencing statement to the

Court, the United States will move to strike the items from the record if this office is not

provided with copies at least three (3) business days prior to sentencing.



       The defendant is required by 18 U.S.C. ' 3013 to pay the sum of $100 at the time of

sentencing.   Immediately after sentencing, the defendant must pay the amount due by

personal check, cashier=s check or certified funds to the United States District Court Clerk.




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         Pursuant to Title 18, United States Code, Section 3663(a)(3), restitution in the

approximate amount of $449,123.00, plus interest on the tax from the due date of the tax

returns at the rates specified in 26 U.S.C. '' 6621 and 6622, to be paid to the Internal Revenue

Service as part of the sentence must be ordered by the Court.



         It is requested that the Court order that all financial obligations be due immediately.

In the event the defendant lacks the ability to immediately pay the financial obligations in

full, it is requested that the Court set a schedule for payment of the obligations.



         Pursuant of Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United

States Code, Section 2461(c), forfeiture of property listed below, must be ordered by the

Court:

         REAL PROPERTY

         a)     $477,331.89 in lieu of 4385 County Road 16, Canandaigua, New York,
                that is all that tract or parcel of land situated in the town of
                Canandaigua, county of Ontario, and state of New York, and more
                particularly described in a certain deed recorded in the Ontario County
                Clerk’s Office in Liber of Deeds 01270 at Page 0751


         In the event present counsel for the defendant will continue to represent the defendant

after sentencing in regard to the collection of unpaid financial obligation(s), it is requested

that a letter so advising be sent to:

                       Asset Forfeiture/Financial Litigation Unit
                       U.S. Attorney=s Office WDNY
                       138 Delaware Avenue
                       Buffalo, New York 14202


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       If a letter is not received within ten (10) days of sentencing, the defendant will be

directly contacted regarding collection of the financial obligation(s).



       Upon the ground that the defendant has assisted authorities in the investigation or

prosecution of the defendant=s own misconduct by timely notifying authorities of the

defendant=s intention to enter a plea of guilty, thereby permitting the government to avoid

preparing for trial and permitting the government and the Court to allocate their resources

efficiently, the government hereby moves the Court to apply the additional one (1) level

downward adjustment for acceptance of responsibility pursuant to U.S.S.G. ' 3E1.1(b).



       DATED: Rochester, New York, September 10, 2018.


                                            JAMES P. KENNEDY, JR.
                                            United States Attorney



                                     BY:    s/Richard A. Resnick
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